                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF TENNESSEE

 JAVIER PENZO,                       )
                                     )
                Plaintiff,
                                     )
        vs.                          )
 SOUTH COLLEGE OF TENNESSEE, INC.; ) Case No.: 3:23-cv-00022-TRM-JEM
 and THEODOR RICHARDSON, in his      )
 capacity as Chief Academic Officer, )
                                     )
                Defendant.           )

                          PLAINTIFF’S NOTICE OF DISMISSAL

        Now comes the Plaintiff and dismisses this action without prejudice pursuant to Fed. R.

 Civ. P. 41(a)(1)(A)(i). This notice comes before the filing of either an answer or a motion for

 summary judgment.

         Dated: February 6, 2023                      Plaintiff Javier Penzo,
                                                      By his Attorneys,

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                                CERTIFICATE OF SERVICE

        I certify that on February 6, 2023, this document was electronically filed through the
 Court’s ECF system and served on all counsel of record.

                                                    /s/ J. Richard Ratcliffe




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